              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT




                       WILLIAM TRAVIS HARWOOD,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.


                             No. 2D2022-3582



                              August 21, 2024

Appeal from the County Court for Hillsborough County; John N. Conrad,
Judge.

Howard L. Dimmig, II, Public Defender, and Andrea M. Norgard,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Katherine Coombs
Cline, Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

SILBERMAN, LaROSE, and BLACK, JJ., Concur.


Opinion subject to revision prior to official publication.
